     Case 2:21-cv-01585-RFB-BNW Document 1 Filed 06/03/21 Page 1 of 16



 1   AUDREY KRAMER,
     2364 Redwood Road
2
     Hercules, CA 94547
                                                                             filed
3
     Plaintiff, IN PRO PER
4
                                                                              JUN-3 2021
                                                                            f-i-iySANy SOONG
5


6
                             UNITED STATES DISTRICT COURT FOR THE
7


8
                               NORTHERN DISTRICT OF CALIFORNIA                                 9L
9


10
     AUDREY KRAMER,PRO PER
                                                 Case No.:

12


13
      vs.
                              Plaintiff,
                                            c    VERIFIED COMPLAINT FOR:

14
                                                  1. INDEPENDENT ACTION FOR RELIEF

15
                                                      FROM JUDGMENT TO REMEDY
                                                      FRAUD UPON THE COURT UNDER Fed.
16
     JPMORGAN CHASE BANK,N.A.                         R. Civ. P. 60(d)(3)
     KENT E. EARSEN ESQ., SMITH
17                                               2. EXTRINSIC/INTRINSIC FRAUD
     LARSEN & WIXOM,AND DOES 1
     THROUGH 25 INCLUSIVE,                       3. DAMAGES
18


19
                                                      DEMAND FOR JURY TRIAL
                              Defendants.
20


21


22


23


24


25


26


27   Plaintiff and Party Interest, AUDREY KRAMER alleges as follows:
28




                                                -1-
      Case 2:21-cv-01585-RFB-BNW Document 1 Filed 06/03/21 Page 2 of 16



 1                                                    I

 2
                                      PRELIMINARY STATEMENT

 3


 4
            Fed. R. Civ. P. 60(d)(3) sets forth grounds upon which the Court may relieve a party from

 5
     a final judgment or order. Rule 60(d)(3) explains that "[tjhis rule does not limit a court's power to

6    set aside a judgment for fraud on the court." Rule 60(d)(3) is a codification of the Court's

 7   "inherent power ... to investigate whether a judgment was obtained by fraud." Universal Oil

8    Products Co. V. Root Ref. Co., 328 U.S. 575, 580 (1946). "There is no statute of limitations for

9    fraud on the court. And jurisdiction exists to consider such a claim even if there are no adversary

10   parties then present before the court." Valerio v. Boise Cascade Corp., 80 F.R.D. 626, 640 n.lO
11   (N.D. Cal. 1978)aff d, 645 F.2d 699 (9th Cir. 1981).
12
            The fabrication of evidence by a party in which an attorney is implicated, will constitute
13
     fraud on the court. Please see, Rozier v. Ford Motor Co., 573 F.2d 1332, 1338 (5th Cir. 1978).
14
     Here, Attorney Kent F. Larsen Esq. Nevada Bar No. 3463. an Officer of the Court, knowingly,
15
     purposely and intentionally provided false and fabricated "Assignment of Deed of Trust" as
16
     evidence to obtain judgment in the United States District Court District of Nevada to conduct non-
17
     judicial foreclosure of Plaintiffs real property. Chase recorded false "Assignment of Deed of
18
     Trust" on or about April 10, 2018, approximately (6) six months after Notice of Default("NOD")
19
     was filed and recorded against Plaintiffs property, and (10) ten years after Washington Mutual
20

     Bank ("WAMU"), the only named party on Plaintiffs Deed of Trust, went into receivership with
21

     the Federal Deposit Insurance Corporation ("FDIC") on September 25, 2008.                       SEE
22

     PLAINTIFF'S EXHIBIT "A": "ASSIGNMENT OF DEED OF TRUST"                                 ALSO, SEE
23


24
     PLAINTIFF'S EXHIBIT "F" NOTICE OF DEFAULT(DOC #: 571145)

25          Additionally, Attorney Kent Larsen, an Officer of the Court, knowingly, purposely and

26   intentionally provided expired Limited Power Of Attorney ("LPOA") as evidence to deceptively

27   lend support to fake fabricated "Assignment of Deed of Trust in an effort to further mislead the

28   United States District Coiuf to obtain judgment to conduct non-judicial foreclosure and sale of




                                                     -2-
      Case 2:21-cv-01585-RFB-BNW Document 1 Filed 06/03/21 Page 3 of 16




 "I   Plaintiffs property. The "LPOA" in fact expired on April 3. 2011. approximately (6 years and 7

 2 months) prior to the filing of the unlawful Notice Of Default ("NOD") filed against Plaintiffs
 3
      property on or about October 6. 2017. SEE PLAINTIFF'S EXHIBIT "E": [CHASE'S
 4
      MOTION TO DISMISS-EXHIBIT-J. "LPOA" PG 30. PARAGRAPH 3. LINES 1-21.
 5
      WHERE IT SAYS, "This Limited Power ofAttorney shall be effective from April 3, 2009 and
 6
      shall continue in full force and effect throush April 3, 2011".
 7
      ALSO,SEE PLAINTIFF'S EXHIBIT "F": NOTICE OF DEFAULT (DOC #: 571145)
 8
             Fraud on the court embraces "only that species of fraud which does or attempts to, defile
 9
      the court itself, or is a fraud perpetrated by officers of the court so that the judicial machinery
10

      cannot perform in the usual manner its impartial task of adjudging cases that are presented for
11

      adjudication." Anand v. CITIC Corp.(In re Intermagnetics Am., Inc.), 926 F.2d 912, 916 (9th Cir.
12

      1991). The inquiry must focus upon "whether the alleged fraud harms the integrity of the judicial
13


14
      process": '[Tjampering with the administration of justice in the manner indisputably shown here

.,5   involves far more than an injury to a single litigant. It is a wrong against the institutions set up to

10    protect and safeguard the public, institutions in which fraud cannot.

17           This independent action is brought under Fed. R. Civ. P. Rule 60(d)(3) and Fed. R. Civ. P.

18    60(b)(3) for relief from judgment to Remedy Fraud Upon The Court that was committed on or

19    about (April 10. 20181 the date the fraudulent "Assignment Deed of Trust" document (DOC#:

20    5789461 was recorded through (Mav 17. 2018) the date the District Court issued its' ruling

      concerning the real property commonly described as: 1740 Autumn Glen Street, Femley, NV
22
      89408,("the subject property"), and more fully legally described as:
23
             Lot 62,SD UPLAND RANCH ESTATE UNIT NO.7. ACCORDING TO MAP
24           THEREOF,FILED AS DOCUMENT NO 315377, ON MARCH 9,2004,COUNTY
             OF LYON,STATE OF NEVADA
25
      Bearing APN: 022-052-02 in Lyon County, State of Nevada
26


27           Plaintiff recently discovered the Fraud committed upon the Court when Plaintiff hired a

28    reputable licensed private Investigator, William J. Pataalo, to inquire whether Washington Mutual




                                                       -3-
     Case 2:21-cv-01585-RFB-BNW Document 1 Filed 06/03/21 Page 4 of 16



 1   Bank assigned any interest in the subject real property to JPMorgan Chase Bank, N.A.             The
 2
     discovery of the Fraud Upon the Court did not predate the judgment of May 17, 2018, which
 3
     Plaintiff seeks to vacate.
 4
               Mr. Kent Larsen, an Officer of the Court, and JPMORGAN CHASE BANK, N.A., a
 5
     national association's fraud upon the court involved an unconscionable plan or scheme which is
 6
     designed to improperly influence the court in its decision by knowingly filing false "Assignment
 7
     of Deed of Trust" and deceitfully represented to United States District Court, to deprive Plaintiff,
 8
     and Party In Interest, Audrey Kramer, of all her beneficial and pecuniary interest in the subject
 9
     real property. SEE PLAINTIFF'S EXHIBIT "D" CHASE'S FALSE ASSIGNMENT
10
               For remedy concerning unconscionable plan or scheme which is designed to improperly
11

     influence the comi,please see, Abatti v. Commissioner. 859 F.2d 115, 118 (9th Cir.1988).
12

              Plaintiff will show by clear and convincing evidence that MR.KENT LARSEN,an
13


14
     Officer ofthe Court, SMITH LARSEN & WIXOM,a law corporation, and JPMORGAN CHASE

15
     BANK,N.A., a national association, intentionally, purposely and knowing filed False Evidenee

16   in the United States District Court District of Nevada in their zeal and unconscionable schemes to

17   induce the United States District Court to believe that Defendants were entitled to Plaintiffs real

18   property when Defendants knew that to be false. Plaintiff will further show by this complaint,

19   that the District Court relied on Defendants' false evidence, deceit, and willful misrepresentation
20   by the Defendants Ibid, when it rendered judgment in favor ofthe Defendants on May 17, 2018.
21
              Plaintiff will show, by clear and convincing evidence that, Mr. Kent Earsen, an Officer
22
     of the Court, and JPMORGAN CHASE BANK, N.A's orchestrated imconscionable schemes to
23
     deceive this court and made misrepresentations directed at the judicial machinery in their schemes
24
     to deprive Plaintiff, AUDREY KRAMER of the use and enjoyment of her real property without
25
     any justifiable legal reason.    Plaintiff is not JP Morgan Chase Bank's Judgment debtor and
26
     Plaintiff is not indebted to JPMorgan Chase Bank. Furthermore, JPMorgan Chase Bank was not a
27
     Party to the $176,000.00 Revolving Line of Credit to which JP Morgan Chase Bank now claim
28




                                                      -4-
     Case 2:21-cv-01585-RFB-BNW Document 1 Filed 06/03/21 Page 5 of 16



 1   interest without demonstrating that Washington Mutual Bank assigned JP Morgan Chase Bank
 2
     any of its contractual rights in the revolving line of credit nor can JPMorgan Chase Bank
 3
     demonstrate that FDIC conferred upon JPMorgan Chase Bank any interest in the Revolving Line
 4
     of Credit Ibid.
 5
               Rule 60(d)(3) provides that "[tjhis rule does not limit a court's power to . . .set aside a
6
     judgment for fraud on the court". Rule 60(d)(3) is a codification of the Court's "inherent power
 7
     ... to investigate whether a judgment was obtained by fraud." Therefore, relief based on fraud on
8
     the court is not subject to the one-year time limit.
 9
               Further, the Supreme Court has noted that relief from judgment for fraud on the court is
10

     "available to prevent a grave miscarriage of justice." United States v. Beggerly, 524 U.S. 38, 47
11

     (1998).
12

                                                             II
13
                                                       PARTIES
14
        1.   Plaintiff, and Party In Interest, AUDREY KRAMER,("Plaintiff), is now, and at all times
15

     relevant to this action, domiciled in County of Contra Costa, State of California. Plaintiff is the
16

     rightful owner and acquired as Joint Tenant, with right of survivorship, the real property
17

     commonly describe as: 1740 Autumn Glen Street, Femley, NV 89408, ("the subject property"),
18


19
     and more fully legally described as:

20
             Lot 62, SD UPLAND RANCH ESTATE UNIT NO. 7. ACCORDING TO MAP
             THEREOF, FILED AS DOCUMENT NO 315377, ON MARCH 9, 2004, COUNTY
21           OF LYON,STATE OF NEVADA

22   Bearing APN: 022-052-02 in Lyon County, State of Nevada

23
       2. Plaintiff is informed and believes and thereon alleges that at all relevant
24
     times mentioned in this Complaint, Defendant, JPMORGAN CHASE BANK, N.A, a national
25
     association. Corporate Headquarters is located in the State of New York.
26

       3.    Plaintiff is informed and believes and thereon alleges that Defendant, KENT F. LARSEN
27

     ESQ resides and conducts business in the States of Nevada.
28

       4. Plaintiff is informed and believes and thereon alleges that at all relevant



                                                       -5-
     Case 2:21-cv-01585-RFB-BNW Document 1 Filed 06/03/21 Page 6 of 16



 1   times mentioned in this Complaint, Defendant, SMITH LARSEN & WIXOM, is a Law
 2
     Corporation, organized and existing under the laws ofthe State of Nevada.
 3
        5. The true names, identities, and capacities, whether individual, corporate,
 4
     associate or otherwise of Defendants DOES 1 through 25 are unknown to Plaintiff, who, therefore,
 5
     sues said Defendants by such fictitious names. When the true names, identities, and capacities of
6
     said Defendants are ascertained. Plaintiff will seek leave to amend this complaint accordingly.
 7
     Each of the Defendants designated herein as a DOE is responsible negligently, intentionally,
 8
     tortuously or in some other actionable manner including, but not limited to, the causes of action
 9
     alleged herein, for the events referred to herein, and caused damages to Plaintiff as herein alleged.
10

        6. At all relevant times discussed herein each Defendant, including those
11

     fictitiously named, was the agent, employee, and servant of all the remaining Defendants; and, in
12

     doing the things alleged herein, was acting within the course and scope of said agency and
13


14
     employment.      Unless specifically indicated otherwise, all references in this complaint to

15
     Defendants, Kent F. Larsen Esq., Smith Larsen & Wixom, and JPMorgan Chase Bank, N.A., shall

16   also refer to their agents, officers, directors, managers, and employees, and to all fictitiously

17   named Defendants.

18


19                                                    11

20                          STATEMENT OF JURISDICTION AND VENUE

21


22
        7. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331
23
     because the acts complained of raise federal question under the Constitution and the laws of the
24
     United States. Furthermore, Plaintiff does not reside or domicile in the same state as any of the
25
     Defendants.
26
        8. Venue is proper in this court because the fraud committed by the Defendants
27
     was practiced in United States district and the injuries occasioned by the fraud were suffered in
28
     this district by named Plaintiff.



                                                      -6-
     Case 2:21-cv-01585-RFB-BNW Document 1 Filed 06/03/21 Page 7 of 16



 1                                                           III
                  GENERAL ALLEGATIONS COMMON TO ALL CAUSES OE ACTION
 2


 3
             9.      On or about June 02, 2005, (hereinafter referred to as "Closing Date"), Audrey
 4

     Kramer and her husband entered into a consumer credit transaction with, PAUL FINANCIAL,
 5


6    LLC, by obtaining a One Hundred Sixty Three Thousand Five Hundred dollars (US$163,500.00)

 7
     mortgage loan secured by the DEED OF TRUST of Plaintiffs real property commonly described
8
     as: 1740 Autumn Glen Street, Femley, NV 89408 ("the Subject Property"). The true and correct
 9

     copy of the Deed of Trust is attached hereto as Plaintiffs EXHIBIT "A" and incorporated herein
10


11
     by reference as if set forth in full herein. The Deed of Trust provides that Plaintiff hold interest in

12   the subject real property in Joint Tenancy with right of survivorship.
13
             10.     Plaintiff performed all terms, covenants, and conditions required of her vmder the
14
     Deed of Trust, Ibid. The subject property is a modest, 3 bedroom,2 bath, ranch-style, single
15

     family, single level home that was ultimately intended to become Plaintiffs retirement home.
16


17   Plaintiff and her husband who are both in their mid to late 60's, each with serious health issues,

18   consider the subject property to be important and unique to them for the reasons as stated above.
19
     Plaintiffs right to the real property is sacrosanct.
20
             11.     Plaintiff is informed and believes, and thereon alleges that PAUE FINANCIAE,
21

     LLC is now a defunct financial institution. Notwithstanding, Plaintiff further alleges that, PAUL
22


23   FINANCIAL, LLC, did not assign any contractual rights to any of the above- named Defendants

24
     or to their predecessors. None of the above referenced Defendants or their predecessors is a third-
25
     party beneficiary under the contract which secured Plaintiffs Note and deed of trust.
26

        12. Subsequently, on or about 05/01/2008, Plaintiff used the subject property
27


28




                                                       -7-
      Case 2:21-cv-01585-RFB-BNW Document 1 Filed 06/03/21 Page 8 of 16



 1   as collateral to obtain the revolving line of credit in the amount of One Hundred Seventy Six
 2
     Thousand dollars (US$176,000.00) from WASHINGTON MUTUAL BANK, also defunct
 3
     banking institution; for the maintenance of the subject property and for the purchase of other
 4


 5
     household goods. The true and correct copy of the revolving line of credit is attached hereto as

 6   Plaintiffs EXHBIT "B" and incorporated herein by reference as if set forth in full herein.
 7
               13.    Plaintiff performed all terms, covenants, and conditions required of them under the
 8
     revolving line of credit, except for those terms, covenants, and conditions the performance of
9

     which was either waived or rendered impossible by Washington Mutual Bank because
10


11
     Washington Mutual Bank breached the material terms of the Revolving line of credit.          Further,

12   Washington Mutual became a defunct Banking institution just a few months after executing the
13
     Revolving Line of credit agreement.
14
         14.     It was approximately three (3) years after Plaintiff purchased the subject property they
15

     obtained the 'Revolving' Line of Credit from Washington Mutual Bank (WAMU).                     The
16


17   Revolving Line of Credit had a maximum credit limit of $176,000, and functioned much like that

18   of a Credit Card. Plaintiff did not have a traditional mortgage loan or mortgage note with
19
     WAMU, they instead had what WAMU referred to as a 'Credit Agreement' Contract, whereby,
20
     under the 'Credit Agreement' it reads: "The Grantor (Plaintiff) may borrow, repay and re-borrow
21

     from time to time, up to the maximum credit limit of$176,000." SEE PLAINTIFF'S EXHIBIT
22


23   "B", a true and correct copy of WAMU Credit Agreement [see pg (2) of 1 - 7 pages, sect. (2), lines

24
     (7-9)].
25
         15. Plaintiff performed all terms, covenants, and conditions required of them under the
26

     Revolving Eine of Credit Ibid, except for those conditions the performance of which was either
27


28
     waived or rendered impossible by WAMU's breach and failure to perform its obligation under the
     Case 2:21-cv-01585-RFB-BNW Document 1 Filed 06/03/21 Page 9 of 16
                      rs



 1   credit agreement of the Revolving Line of Credit. Ibid. On September 25, 2008, WAMU beeame
 2
     a defunct banking institution approximately 6 months after the execution ofthe Revolving Line of
 3
     Credit Agreement. Ibid.
 4

         16. At no time did Plaintiff ever access the maximum Credit limit of $176,000. This was due
 5


 6   in part because on September 25,2008, approximately (5 '/2) five and a half months after Plaintiff

 7
     entered into the Revolving Line of Credit Agreement with WAMU,the bank was seized by the
 8
     Federal Deposit Insurance Corporation (FDIC). This bank 'seizure' event, in and of itself, caused
 9

     a breach ofthe 'Credit Agreement' Plaintiff bad with WAMU,because Plaintiff no longer bad the
10


11
     ability to access funds, repay funds and re-borrow funds, as was provided within the original

12   contractual 'Credit Agreement'.
13
         17. Soon after WAMU originated Plaintiffs line of credit. Plaintiff is informed and believes,
14
     and the Private Investigator Report revealed that WAMU transferred all beneficial interest in
15
     Plaintiffs Revolving Line of Credit to private investor/s through the sale and securitization ofthe
16
     line of credit prior to the WAMU going into receivership with the FDIC on September 25,2008.
17
        18. On or about April 10,2018, Attorney Kent F. Larsen Esq. Nevada Bar No.
18
     3463. an Officer of the Court, JPMorgan Chase Bank, N.A., and Smith Larsen & Wixom, a law
19
     corporation, knowingly, purposely, and intentionally recorded and thereafter, falsified and
20

     fabricated an "Assignment of Deed of Trust" as evidenee to obtain judgment in the United States
21

     District Court to conduct non-judicial foreclosure of Plaintiffs real property and falsely claimed
22

     that on April 4, 2018, "For value received, Washington Mutual Bank, a Federal Association the
23


24
     undersigned corporation hereby grants, assigns and transfers to JPMorgan Chase Bank,

25   National Association                     "SEE PLAINTIFF'S EXHIBIT "D". This fraudulent

26   assignment of Plaintiff Deed of Trust was signed by Debbie A. Swayzer—purporting to be Vice

27   President of JPMorgan Chase Bank, as Attorney in Fact for the Federal Deposit Insurance
28   Corporation. Elowever, NO Power of Attorney was ever provided or reeorded in support of this




                                                     -9-
     Case 2:21-cv-01585-RFB-BNW Document 1 Filed 06/03/21 Page 10 of 16



 1   false and fraudulent "Assignment of Deed of Trust" which was proffered by Attorney, Kent
 2
     Larsen as Evidence in the United States District Court District of Nevada. (Case #: 3:18-cv-0001-
 3
     MMD-WGC) Yet shockingly Attorney Kent Larsen did submit to the District Court District of
 4
     Nevada as evidence an expired LPOA in their Motion To Dismiss.             SEE    PLAINTIFF'S
 5
     EXHIBIT "E":        ICHASE'S MOTION TO DISMISS-EXHIBIT-J. "LPOA" PG 30.
 6
     PARAGRAPH 3. LINES 1-21. WHERE IT SAYS, "This Limited Power of Attorney shall be
 7
     effective from April 3,2009 and shall continue in full force and effect throush April 3, 2011'
 8
        19. After JPMorgan Chase Bank filed the fraudulent Assignment of Deed of Trust
 9
     on April 10, 2018, the Hon. Judge Du dismissed Plaintiffs case in the District Court on May 17,
10
     2018. The following day. May 18, 2018, Defendants caused the foreclosure of Plaintiffs real
11

     property.
12

       20. On June 8, 2018, in response to the unlawful foreclosure of Plaintiffs property. Plaintiff
13


14
     filed a complaint for the wrongful foreclosure of her real property in the Third Judicial District

15
     Court ofLyon County (Case # 18-CV-00663).

16     21. On May 1, 2019, at a Motion Hearing, the presiding Judge, the Hon. John P.

17   Schlegelmilch, granted Plaintiff permission to proceed with discovery.

18     22. On May 22, 2019, Plaintiff hired a licensed private investigator Mr. William Pataalo to

19   look into the authenticity of the "Assignment of Deed of Trust" that was recorded and provided as
20   evidence in the United States District Court District of Nevada by. Attorney Kent F. Larsen Esq.
21
     Nevada Bar No. 3463. an Officer of the Court, JPMorgan Chase Bank, N.A., and Smith Larsen &
22
     Wixom. Upon due diligence, investigation and careful review of documents concerning Plaintiffs
23
     property by licensed private investigator-William J. Pataalo, it was discovered that the
24
     "Assignment of Deed of Trust" Ibid, was in fact fabricated, forged and fraudulently recorded.
25
     William Pataalo's investigation also revealed Washington Mutual Bank did not and could not
26
     assign JPMorgan Chase Bank contract rights arising out of the Revolving Line of Credit
27
     Agreement Plaintiff had with Washington Mutual Bank (WAMU) because Plaintiffs Line of
28




                                                   -10-
     Case 2:21-cv-01585-RFB-BNW Document 1 Filed 06/03/21 Page 11 of 16



 1   Credit had been previously securitized and sold prior to WAMU entering into receivership by the
 2
     FDIC. SEE Plaintiffs EXHIBIT "C"(William Pataalo's Declaration & Exhibits
 3
        23.    On or about April 10, 2018,(6 months after Notice of Default was wrongly filed against
 4
     Plaintiffs property) JPMorgan Chase Bank, N.A., Kent F. Larsen Esq., and Smith Larsen &
 5
     Wixom recorded fraudulent Assignment of Deed of Trust to induce the United States District
 6
     Court to enter in their favor not withstanding that Defendants lack standing to encumber Plaintiffs
 7
     real property.
 8
        24.   Additionally, JPMorgan Chase Bank willfully, knowingly and fraudulently mislead the
 9
     District Court in Chase's motion to dismiss, in asking the court to take judicial notice of their
10

     abbreviated and highly redacted (39) page Purchase Assumption Agreement("PAA"). In support
11

     of Chase's request for the court to take judicial notice of the abbreviated PAA,Chase averred two
12

     (2) separate URL addresses whereby, theoretically, anyone can view the PAA directly on the
13


14
     United States Treasury Department's(FD)website.

15
       25.     However, after numerous failed attempts. Plaintiff received error messages stating:(NOT

16   FOUND,BAD REQUEST & INVALID HOST NAME),Needless to say. Plaintiff were never able

17   to view the actual PAA on the USTD's website via the URL links Chase provided. [SEE EEC 17

18   Chase's Motion to Dismiss Pg 3, lines 19-21]        Where Chase alleges: "It can be viewed at the

19   following        website      of      the       United      States     Treasury       Department:
20   http://www.ots.treas.gov./files/680024'pdfor www.gOv/static/ots/directors-orders/do-2008-36.pdf"
21
       26. Defendants have falsely represented their basis to ownership of Plaintiff's WAMU
22
     Revolving Line of Credit.
23
       27.    Through this action. Plaintiff seek damages against Defendants, JPMORGAN CHASE
24
     BANK, N.A., ICENT F. LARSEN ESQ., and SMITH LARSEN & WIXOM, resulting from
25
     Defendants' fraud upon the United States District Court in their scheme to deprive Plaintiff of all
26
     beneficial and pecuniary interest in her real property.
27


28




                                                      -11-
     Case 2:21-cv-01585-RFB-BNW Document 1 Filed 06/03/21 Page 12 of 16



 1                                      FIRST CAUSE OF ACTION

 2
                         (INDEPENDENT ACTION FOR RELIEF FROM JUDGMENT
 3
                                       FOR FRAUD UPON THE COURT)
 4

                                     (AGAINST ALL DEFENDANTS)
 5


 6      28. The allegations in the preceding paragraphs are incorporated herein by reference as if set

 7   forth in full herein.

 8
             Defendants' Fraud Upon the Court
 9
        29. The fabrication of evidence by a party in which an attorney is implicated, will
10

     constitute fraud on the court. Please see, Rozier v. Ford Motor Co., 573 F.2d 1332, 1338 (5th Cir.
11


12   1978).

13
        30. Plaintiff alleges that on or about April 10, 2018, Attorney Kent F. Larsen
14
     Esq. Nevada Bar No. 3463. an Officer of the Court, knowingly, purposely, and intentionally
15

     provided false and fabricated "Assignment of Deed of Trust" as evidence to obtain judgment in
16


17
     the United States District Court to conduct non-judicial foreclosure of Plaintiffs real property.

18     31.    Plaintiff alleges that on or about April 10, 2018, JPMorgan Chase Bank, N.A., Kent F.
19
     Larsen Esq., Smith Larsen & Wixom recorded a fabricated fraudulent Assignment of Deed of
20
     Trust to induce the United States District Court to enter in their favor not withstanding that
21

     Defendants lack standing to encumber Plaintiffs real property.
22


23     32. Additionally, JPMorgan Chase Bank willfully, knowingly and fraudulently

24   mislead the District Court in Chase's motion to dismiss, in asking the court to take judicial notice
25
     of their (39) page PAA. In support of Chase's request for the court to take judicial notice ofthe
26
     abbreviated PAA,Chase averred two(2)separate URL addresses whereby, theoretically, anyone
27

     can view the PAA directly on the United States Treasury Department's(USTD)website. Both
28


     URL's were defective.




                                                     -12-
     Case 2:21-cv-01585-RFB-BNW Document 1 Filed 06/03/21 Page 13 of 16



 1           33. Plaintiff alleges that on or about 5/17/ 2018, the United States District
 2
     Court relied on the false evidence ofthe Assignment of Deed of Trust when it granted Defendants'
 3
     motion and adjudicated that Defendants were entitled to foreclose on Plaintiffs real property.
 4

             34. Plaintiff alleges that Defendants' false evidence was the substantial factor
 5


 6   in rendering judgment in favor ofthe Defendants.

 7
             35. This fraud was perpetrated on the United States District Court to obtain an
 8
     order to foreclose on Plaintiffs real property. As a result of Defendants' fraud upon the court,
 9

     Defendants unlawfully sold Plaintiffs real property.
10


11
        36. As a direct and proximate result ofthe Defendants' False evidence of

12   Assignment of Deed of Trust, and the ensuing misrepresentation, deceit, and fraud upon the
13
     United States District court. Plaintiff has sustained injury according to proof during jury trial.
14


15

                                          SECOND CAUSE OF ACTION
16


17                                   (EXTRINSIC/INTRINSIC FRAUD)

18
                                            (ALL DEFENDANTS)
19

        37. The allegations in the preceding paragraphs are incorporated herein by
20


21   reference as if set forth in full.

22           False Representations and Failure to disclose Material evidence
23
       38.       On or about 5/17/ 2018, Mr. Kent Larsen, an Officer of the Court, and JP
24
     Morgan Chase Bank N.A., a national association, and Smith Larsen & Wixom, a Law
25

     Corporation, engaged unconscionable plan or scheme which was designed to improperly influence
26


27   the United States District Court in its decision pertaining to Plaintiffs real property commonly

28




                                                      -13-
     Case 2:21-cv-01585-RFB-BNW Document 1 Filed 06/03/21 Page 14 of 16



 1   described as: 1740 Autumn Glen Street, Femley, NV 89408,("the subject property"), and more
 2
     fully legally described as:
 3
            Lot 62, SD UPLAND RANCH ESTATE UNIT NO. 7. ACCORDING TO MAP
 4
            THEREOF, FILED AS DOCUMENT NO 315377, ON MARCH 9, 2004, COUNTY
 5
            OF LYON,STATE OF NEVADA
6
     Bearing APN: 022-052-02 in Lyon County, State of Nevada
 7


8
            39.     A false representation may be made orally, in writing, or by nonverbal conduct."
 9


10
     (See Thrifty-Tel, Inc. v. Bezenek(1996) 46 Cal.App.4th 1559, 1567 [54 Cal.Rptr.2d 468].) [FJalse

11   representations made recklessly and without regard for their truth in order to induce action by

12
     another are the equivalent of misrepresentations knowingly and intentionally uttered.'"(Engalla
13
     v.Permanente Medical Group, Inc. (1997) 15 Cal.4th 951, 974 [64 Cal.Rptr.2d 843, 938 P.2d
14

     903], internal quotation marks omitted.).
15


16
           40. On or about 4/10/2018, Mr. Kent Larsen, an Officer ofthe Court, and JP

17   Morgan Chase Bank N.A., a national association, and Smith Larsen & Wixom, a Law

18
     Corporation, intentionally, willfully, and knowing misrepresented to the United States District
19
     Court that Washington Mutual Bank assigned JPMorgan Chase Bank rights under the Revolving
20

     Line of Credit which was executed between Plaintiff and Washington Mutual Bank. This phony
21


22   drafted "Assignment of Deed of Trust" states, "For Value Received , Washington Mutual, a

23   Federal Association the undersigned corporation hereby grants, assigns or transfers to
24
     JPMorgan Chase Bank ....all beneficial interest...." this was impossible given that WAMU
25
     ceased to exist approximately 10 years prior when they entered into receivership by the FDIC on
26

     September 25, 2008, becoming a defunct banking institution. Further, Plaintiffs Revolving Line
27


28   of Credit with WAMU was securitized and sold prior to receivership by the FDIC. Rights to




                                                   -14-
     Case 2:21-cv-01585-RFB-BNW Document 1 Filed 06/03/21 Page 15 of 16



 1   Plaintiffs Line of Credit was not acquired by the FDIC, nor Chase because it had been sold and
 2
     was no longer part of WAMU's portfolio.
 3
            41.       Plaintiff alleges that Mr. Kent Larsen, an Officer of the Court, and JP Morgan
 4


 5
     Chase Bank N.A., a national association, and Smith Larsen & Wixom, a Law Corporation's

 6   representation Ibid was false.

 7
            42.        On or about 5/17/2018, the United States District relied on Defendants, Mr.
 8
     Kent Larsen, an Officer ofthe Court, and JP Morgan Chase Bank N.A., a national association, and
 9
     Smith Larsen & Wixom, a Law Corporation's deceit, willful, and knowing malpresentation and
10


11
     false evidence of assignment of deed oftrust to the detriment ofthe Plaintiff, Audrey Kramer.

12          43.        Plaintiff alleges that Mr. Kent Larsen, an Officer ofthe Court, and JP
13
     Morgan Chase Bank N.A., a national association, and Smith Larsen & Wixom,a Law
14
     Corporation's false evidence, deceit, and misrepresentation is the natural and probable result of
15

     Plaintiffs injuries.
16


17          44. As a direct and proximate result of the Defendants' misrepresentation and

18   deceit. Plaintiffs real property was sold in an unlawful non-judicial foreclosure.
19


20
                                                (DAMAGES)
21


22
                                          (AGAmST ALL DFENDANTS)

23          45.       The allegations in the preceding paragraphs are incorporated herein by

24
     reference as if set forth in full.

25
            46.       In doing the act alleged in this complaint. Defendants, Mr. Kent Larsen, an
26

     Officer of the Court, and JPMorgan Chase Bank N.A., a national association, and Smith Larsen &
27


28
     Wixom,a Law Corporation, and their agents, and representatives acted with oppression, fraud, and




                                                      -15-
     Case 2:21-cv-01585-RFB-BNW Document 1 Filed 06/03/21 Page 16 of 16



 1   malice as such, Plaintiff is entitled to punitive damages to make an example of and to punish these
 2
     Defendants in addition to actional damages.
 3


 4


 5                                     DEMAND FOR JURY TRIAL

 6
     Plaintiff Demand for Jury Trial
 7


 8


 9
     WHEREFORE,Plaintiff Demands judgment against the Defendant as follows:

10          (i)     To Vacate the judgment Entered on May 17, 2018
            (ii)    For eompensatory Damages against Defendants and each of them,
11
            (iii)   For punitive Damages against Defendants for deceit and intentional
12
                    misrepresentation of material fact and to deter Defendants and others from
                    committing fraud upon the court;
13         (iv)     For interest at the rate of 10% per annum
           (v)      For Reasonable Attorney's fees; and
14
           (vi)     For such other and further relief, the Court deem,just and proper
15


16


17
     Dated.:
18                                                    AUDREY/f^MER,Pro se'

19


20


21


22


23


24


25


26


27


28




                                                    -16-
